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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


IN RE: CHINESE-MANUFACTURED                       MDL NO. 2047
DRYWALL PRODUCTS LIABILITY                        SECTION: L
LITIGATION                                        JUDGE FALLON
                                                  MAG. JUDGE WILKINSON

THIS DOCUMENT RELATES TO:

Abel, et al. v. Taishan Gypsum Co., Ltd., f/k/a
Shandong Taihe Dongxin Co., Ltd., et al.,
Case No. 11-cv-080 (E.D. La.)

Almeroth, et al. v. Taishan Gypsum Co., Ltd.,
f/k/a Shandong Taihe Dongxin Co., Ltd., et
al., Case No. 12-cv-498 (E.D. La.)

Amato, et al. v. Liberty Mutual Insurance
Company, Case No. 10-cv-932 (E.D. La.)

Germano, et al. v. Taishan Gypsum Co., Ltd.,
et al., Case No. 09-cv-6687 (E.D. La.)

Gross, et al. v. Knauf Gips, KG, et al., Case
No. 09-cv-6690 (E.D. La.)

Haya, et al. v. Taishan Gypsum Co., Ltd., f/k/a
Shandong Taihe Dongxin Co., Ltd., et al.,
Case No. 11-cv-1077 (E.D. La.)

Wiltz, et al. v. Beijing New Building Materials
Public Limited Co., et al., Case No. 10-cv-361
(E.D. La.)


      CLASS COUNSEL’S MOTION FOR AN ORDER: (1) PRELIMINARILY
    APPROVING THE SETTLEMENT AGREEMENT OF ASSIGNED CLAIMS
  IN MDL NO. 2047 ON BEHALF OF THE PORTER-BLAINE/VENTURE SUPPLY
  CLASS REGARDING CLAIMS ASSIGNED TO THE CLASS BY THE PORTER-
   BLAINE/VENTURE PARTICIPATING DEFENDANTS AND PARTICIPATING
   INSURERS AGAINST TAISHAN GYPSUM CO., LTD. AND TAIAN TAISHAN
     PLASTERBOARD CO., LTD.; (2) DIRECTING THE DISSEMINATION OF
        CLASS NOTICE; AND (3) SCHEDULING A FAIRNESS HEARING
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       Class Counsel hereby move this Court for an order:

       1.       Granting preliminary approval to the proposed Assigned Claims Settlement;

       2.       Directing the dissemination of Class Notice; and

       3.       Scheduling a Fairness Hearing.

       A proposed Preliminary Approval Order, a supporting Memorandum of Law, and the

Assigned Claims Settlement Agreement are filed contemporaneously herewith.

       WHEREFORE, Class Counsel respectfully request that, after due consideration, the

Court grant this Motion for an Order: (1) preliminarily approving the Assigned Claims

Settlement Agreement of Assigned Claims in MDL No. 2047 on Behalf of the Porter-

Blaine/Venture Supply Class Regarding Claims Assigned to the Class by the Porter-

Blaine/Venture Participating Defendants and Participating Insurers Against Taishan Gypsum

Company Ltd. and Taian Taishan Plasterboard Co., Ltd.; (2) directing the dissemination of Class

Notice; and (3) scheduling a Fairness Hearing.



                                                     Respectfully submitted,


Dated: March 13, 2018                                /s/ Russ M. Herman
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                                                     and Class Counsel




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                               CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing has been served on Defendants’ Liaison

Counsel, Kerry Miller, by U.S. Mail and e-mail or by hand delivery and e-mail and upon all

parties by electronically uploading the same to LexisNexis File & Serve in accordance with Pre-

Trial Order No. 6, which will serve a notice of the uploading in accordance with the procedures

established in MDL 2047, on this 13th day of March, 2018.



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